Case 1:05-cr-01849-JCH   Document 1111-1   Filed 11/08/07   Page 1 of 6




          Defendant Jarvis’ Reply Motion to Dismiss
                            Exhibit A
                   Defendant Jarvis’ Affidavit
Case 1:05-cr-01849-JCH   Document 1111-1   Filed 11/08/07   Page 2 of 6
Case 1:05-cr-01849-JCH   Document 1111-1   Filed 11/08/07   Page 3 of 6
Case 1:05-cr-01849-JCH   Document 1111-1   Filed 11/08/07   Page 4 of 6
Case 1:05-cr-01849-JCH   Document 1111-1   Filed 11/08/07   Page 5 of 6
Case 1:05-cr-01849-JCH   Document 1111-1   Filed 11/08/07   Page 6 of 6
